         Case 1:01-cv-02094-RCL Document 151 Filed 06/30/06 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
Eric Washington (Deceased), et aL
                   Plaintiffs


              v.                                           Civil Action# 1:01CV02094 @CL)



THE ISLAMIC REPUBLIC OF IRAN, et aL
               Defendants


                            REPORT OF SPECIAL MASTER
                         PURSUANT TO ORDER OF REFERENCE
                        CONCERNING COUNTS CDXLV - CDXLVIU

       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages fiom witnesses as below set forth. This is an action for wrongful death resulting from an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.

                                     FINDINGS OF FACT

              (1) Eric Glenn Washington was born on May 21, 1955 in the United States of

America and was at birth and remained until his death, a citizen of the United States. Soon after

completing high school, Mr. Washington joined the United States Marine Corps and on October 23,

1983 was a member of the 24h MAU, First Battalion, 8" Regiment.
         Case 1:01-cv-02094-RCL Document 151 Filed 06/30/06 Page 2 of 4




       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 241 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, Eric Washington suffered severe injuries which

resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death of the decedent was due to a terrorist attack at Beirut, Lebanon on October 23, 1983.

        (5) There is no evidence fiom which the Special Master can make any finding that the

decedent suffered bodily pain or suffering as a result of his injuries and death appears to have been

instantaneous.

        (6) As a result of the death of Eric Washington, his estate suffered a loss of accretions to the

estate which could have been expected to occur during the course of his anticipated life. These

losses are the subject of a report under oath fiom Dr. Jerome Paige and are supported by Dr.

Paige's testimony given by videotape. They have been reduced by Dr. Paige to present value in

accordance with District of Columbia v. Barriteau, 399 A.2d 563 (D.C. App. 1979). Based upon

the foregoing, the amount of loss to the estate is in the amount of $ 1,069,270.

        (7) As the result of the death of Eric Washington, his mother, Pearl Orlaniji, and his

surviving siblings have suffered and will continue to suffer severe mental anguish and the loss of

society. The testimony of Eric's sister, Vancine, established that Eric was the youngest of the

children of Pearl Orlaniji. She described him as a sweet, kind person who had a deep affection

form his family, and a devotion to his mother. He consistently sent her letters, cards and money

when he was away form home.
         Case 1:01-cv-02094-RCL Document 151 Filed 06/30/06 Page 3 of 4




        Eight days after marrying Patricia Fitzgerald, he was assigned to the peace-keeping force in

Beirut. Information received from the family indicates that Eric intended to enter the

communications field after completing a career in the Marine Corps. He did plan to attend college.

       Eric's mother is too weak and infirmed to testify on her own behalf, as she suffers form

cardiac disease. Her daughters Blanche F. Cony, ~iane,Whiten=r,
                                                             and Vancine Washington were

deposed in this case, as well as her son-in-law, Charles Cony. A fourth daughter, Deborah, is

deceased.   A son, Gerald Foister, did not give deposition testimony.              Eric's wife, Patrice

Washington, did not participate in the litigation and did not give a deposition.

       Eric Glenn Washington was the youngest of six children who completed Marine boot camp

in 1979 at Paris Island. All of the witnesses described Eric as a sweet, unassuming, quiet man who

was kind to his family and devoted to his friends. Every family member testified to a tremendous

sorrow at the loss of Eric, and described the effect of his death on their mother as "devastating."

They deeply resent that he was murdered while serving on a peace mission, a mission that Eric took

on with a high level of motivation and dedication to the Marines. ~ o l l e c t i v e lthey
                                                                                       ~ , describe the

bombing as "barbaric." Each testified that she or he continues to miss Eric every day.

                                    CONCLUSIONS OF LAW

       (1) Wrongful Death.

       The Plaintiffs produced comprehensive testimony from Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of Eric

Washington in the amount of $ 1,069,270.
          Case 1:01-cv-02094-RCL Document 151 Filed 06/30/06 Page 4 of 4




       (2) Survival Action - Pain and Suffering.

       There is no evidence from which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatium consisting of

emotional 'injury inflicted upon persons other than the decedent by the actions of the defendants

andfor their agents. As the Court noted in the Flatow case, this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent's comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Pearl Olaniji (mother) $5,000,000.00;

Vancine Washington, Diane Whitener and Blanche Corry (sisters)        - $2,500,000.00   each; Gerald

Foister (brother) - undetermined; Patrice Washington (wife) - undetermined; Charles- Corry

(brother-in-law) $100,000.




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                                                              Special Master
